Case 2:11-cr-20551-LJM-MKM ECF No. 1126, PageID.7222 Filed 06/12/15 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
              Plaintiff,                              Case No. 11-20551-12
                                                      HON. ROBERT H. CLELAND
 v.
 D-12 SARDAR ASHRAFKHAN,
                Defendant.
 _________________________________/

    ORDER GRANTING THE DEFENDANT AND THE GOVERNMENT’S
   STIPULATION FOR DISCLOSURE OF TAX RETURNS AND TAXPAYER
                     RETURN INFORMATION

       The government having moved for an order for Disclosure of Tax

 Returns and Taxpayer Return Information pursuant to 26 U.S.C.'6103(i)(4)(A), and

 the parties having reached a stipulation to entry of such an order in open court on the

 record today, and the Court being duly advised in the premises;

       The Court finds that under that statute, in a judicial proceeding where the

 United States is a party, a tax return or taxpayer return information may be disclosed

 “pertaining to enforcement of a specifically designated Federal criminal statute…if

 the court finds that such return or taxpayer return information is probative of a

 matter in issue relevant in establishing the commission of a crime or the guilt or

 liability of a party.” Defendant is charged with conspiracy to distribute and possess

 with intent to distribute controlled substances in violation of 21 U.S.C '' 841,846;

 health care fraud conspiracy in violation of 18 U.S.C '' 1347,1349; and money

 laundering in violation of 18 U.S.C '1957. The government contends that

 Defendant’s tax return and taxpayer return information may be relevant to these
Case 2:11-cr-20551-LJM-MKM ECF No. 1126, PageID.7223 Filed 06/12/15 Page 2 of 2



 charges. Having reviewed the motion, and defendant’s stipulation on the record in

 open court, the court agrees. Accordingly,

        IT IS HEREBY ORDERED that the “Government's Motion for Disclosure of

 Tax Returns and Taxpayer Return Information” [Dkt#1116] is GRANTED because

 the Court hereby finds such return or taxpayer return information is probative of a

 matter in issue relevant in establishing the commission of a crime or the guilt or

 liability of a party.

        IT IS FURTHER ORDERED that the government is PERMITTED to

 disclose to the court and to Defendant the tax returns and taxpayer return

 information of Sardar Ashrafkhan for the years 2006-2010, and Compassionate

 Doctors P.C. for the years 2006-2010. The disclosed returns and taxpayer return

 information may be used in discovery and as evidence at trial.



                                          S/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE


 Dated: June 12, 2015


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 and/or pro se parties on this date, June 12, 2015, by electronic and/or ordinary mail.


                                           S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522
